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Trump Panama Condominium Management LLC

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------x
In re                                                 :
                                                      :   Chapter 11
NEWLAND INTERNATIONAL                                 :
PROPERTIES, CORP                                      :
                                                      :   Case No. 13-11396 (MG)
                           Debtor.                    :
-----------------------------------------------------x


                                    CERTIFICATE OF SERVICE

NII-AMAR AMAMOO, an attorney admitted to practice before this Court, certifies under
penalty of perjury, that true copies of the Trump Parties’ Joinder to Debtor’s Motion for
Authority to File under Seal Confidential Information Contained in Plan Supplement [Docket
No. 47], was served on May 13, 2013, via Electronic Mail Delivery and First Class Mail, upon
the parties listed on the annexed Exhibit A:


Dated: May 14, 2013
New York, New York
                                           /s/ Nii-Amar Amamoo
                                           Nii-Amar Amamoo
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                                      EXHIBIT A



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